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 5                         IN THE UNITED STATES DISTRICT COURT
 6                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,                  )
 8                                              )    2:11-cr-00454-GEB
                        Plaintiff,              )
 9                                              )
                  v.                            )    ORDER
10                                              )
     PETER KIM HOLZMANN,                        )
11                                              )
                   Defendant.                   )
12   ________________________________           )
13
14                Defendant’s application to hold judgment in abeyance and amend

15   the presentence report (ECF No. 102) is denied since Defendant has not

16   shown that the Court has jurisdiction to grant the relief requested.

17   Dated:     April 8, 2013
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19                                       GARLAND E. BURRELL, JR.
                                         Senior United States District Judge
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